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          EXHIBIT 5
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  Message received from Jesse Rto - 4/8/2022 9:02:19 AM� (SMS)
  Good morning!! Will you be around today for a quick chat??

  Message sent - 4/8/2022 9:37:36 AM - (SMS)
  Yes sir ... meetings at noon today down the road but back in the office by
  2.

  Message received from Jesse Rto - 4/8/2022 9:55:22 AM - (SMS)
  Ok I will swing by a little
  After 2

  Message sent - 4/8/2022 9:56:41 AM - (SMS)
  Okay


  4/14/2022 7:37:06 AM


  Message received from Jesse Rto - 4/14/2022 7:37:06 AM - (SMS)
  Good morning! Need to holler at you before you talk to Brian Lassen and
  discuss a few other things if possible


  4/19/2022 3:04:15 PM


  Message sent - 4/19/2022 3:04:15 PM - (SMS)
  I talked with Brian and Alleyna Friday. I want to talk with you before I
  call them back, .•. maybe late Thursday afternoon or Friday after 12 we can
  get together.

  Message received from Jesse Rto - 4/19/2022 3:04:56 PM - (SMS)
  Thursday will work great for me

  Message received from Jesse Rto - 4/19/2022 3:05:33 PM - (SMS)
  What time you thinking??

  Message sent - 4/19/2022 3:06:20 PM - (SMS)
  Good ... I should be back to bank Thursday by 2:30.   How about 3?

  Message received from Jesse Rto - 4/19/2022 3:06:47 PM - (SMS)
  I will make that work.

  Message sent - 4/19/2022 3:07:23 PM - (SMS)
  d>

  5/6/2022 3:52:32 PM


  Message received from Jesse Rto - 5/6/2022 3:52:32 PM - (SMS)
  Hey man need to talk to you sometime soon and phone will be fine




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  5/17/2022 11:49:41 AM


  Message received from Jesse Rto - 5/17/2022 11:49:41 AM - (SMS)
  Good morning!! You gonna be around in the morning??

  Message sent - 5/17/2022 12:14:24 PM - (SMS)
  Hey Bud...yep, stop by when you can.

  Message received from Jesse Rto - 5/17/2022 12:16:56 PM - (SMS)
  Be there in the morning say 9ish??

  Message sent - 5/17/2022 12:21:19 PM - (SMS)
  Sounds good....see you then.


  5/23/2022 2:19:39 PM


  Message sent - 5/23/2022 2:19:39 PM - (SMS)
  Big week, signing documents for two companies and a website for ABC this
  week. I've got a couple of quick questions... call me when you can.


  6/1/2022 2:52:08 PM


  Message received from Jesse Rto - 6/1/2022 2:52:08 PM - (SMS)
  I'm on the other line. I will call you back shortly.


  6/3/2022 12:00:23 PM


  Message received from Jesse Rto - 6/3/2022 12:00:23 PM - (SMS)
  Hey man am
                          \



  I good to come
  Down now


  6/4/2022 11:19:12 AM


  Message received from Jesse Rto - 6/4/2022 11:19:12 AM - (SMS)
  Good morning I hate to bother you on the weekend but been thinking about
  something if you get a free minute and you don't mind holler at me later
  today thanks man

  Message sent - 6/4/2022 2:10:01 PM - (SMS)
  Just got text... call you shortly

  Message received from Jesse Rto - 6/4/2022 2:17:25 PM - (SMS)




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  Message sent - 6/4/2022 2:31:36 PM - (SMS)
  Call me when you get time.

  6/9/2022 10:46:36 AM


  Message received from Jesse Rto - 6/9/2022 10:46:36 AM - (SMS)
  Good morning holler when you can


  6/12/2022 4:57:57 PM


  Message received from Jesse Rto - 6/12/2022 4:57:57 PM - (SMS)
  Good afternoon I can't cash that check from BPS since it's too ABCO can I
  bring it back and get another one from you tomorrow??

  Message sent - 6/12/2022 6:11:13 PM - (SMS)
  Hey Bud, Absolutely ... what name should be on the check?

  Message received from Jesse Rto - 6/12/2022 6:12:05 PM - (SMS)
  Wade Etherton

  Message received from Jesse Rto - 6/12/2022 6:12:12 PM - (SMS)
  Thanks man see you tomorrow


  6/13/2022 11:24:13 AM


  Message received from ,Jesse Rto - 6/13/2022 ll:24,11 AM - (SMS)
  Fixing to leave murray to head that way

  Message sent - 6/13/2022 11:29:43 AM - (SMS)



   6/15/2022 8:13:48 AM


  Message received from Jesse Rto - 6/15/2022 B:13:48 AM - (SMS)
  Good morning I would like to get your lawyer to send the letter for us

  Message sent - 6/15/2022 9:23:49 AM - (SMS)
  He is calling and emailing you now

   Message received from Jesse Rto - 6/15/2022 9:24:13 AM - (SMS)
   Good deal

   Message received from Jesse Rto - 6/15/2022 11:22:48 AM - (SMS)
   Attorney never called or emailed

   Message sent - 6/15/2022 12:19:41 PM - (SMS)
   ?? I'll check on it.



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  Message sent - 6/15/2022 12:21:15 PM - (SMS)
  I just texted him. He will.write the letter and he has what he
  needs...he just needs to get some details from you.

  Message received from Jesse Rto - 6/15/2022 12:21:34 PM - (SMS)
  Good deal


  6/16/2022 10:25:24 AM


  Message received from Jesse Rto - 6/16/2022 10:25:24 AM - (SMS)
  Good morning man! Did you get a letter in Gleason? I left Adam Crider a
  message about the response letter

  Message sent - 6/16/2022 10:27:05 AM - (SMS)
  Not yesterday but they haven't checked today.   Dod you talk with Adam
  yesterday


  6/17/2022 7:08:48 AM


  Message received from Jesse Rto - 6/17/2022 7:08:48 AM - (SMS)
  Good morning holler at me when you can


  6/20/2022 2:45:31 PM


  Message received from Jesse Rto - 6/20/2022 2:45:31 PM - (SMS)
  Hey man holler at me when you can


  6/24/2022 7:43:21 AM


  Message received from Jesse Rto - 6/24/2022 7:43:21 AM - (SMS)
  Holler at me when you can

  Message received from Jesse Rto - 6/24/2022 9:22:13 AM - (SMS)
  Here's the best email for me now

  Message received from Jesse Rto - 6/24/2022 9:22:27 AM - (SMS)
  jesse@americanbarnco.com

   Message sent - 6/24/2022 11:21:10 AM - (SMS)
   Got it, Did you get what you need?

   Message received from Jesse Rto - 6/24/2022 11:26:17 AM - (SMS)
   I believe so wade said he's got to talk to you again today

   Message sent - 6/24/2022 11:52:37 AM - (SMS)



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